






Opinion issued November 19, 2009









In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-08-00853-CV

____________


ALBERT JEROME WALLACE, JR., Appellant


V.


DIANNA LYNN WALLACE, Appellee






On Appeal from the County Court at Law No. 3

Galveston County, Texas

Trial Court Cause No. 06FD1564






MEMORANDUM  OPINION

	Appellant has filed a motion to dismiss the appeal.  More than 10 days have
elapsed, and no objection has been filed.  No opinion has issued.  Accordingly, the
motion is granted, and the appeal is dismissed.  Tex. R. App. P. 42.1(a)(1).

	All other pending motions in this appeal are overruled as moot.  The Clerk is
directed to issue mandate within 10 days of the date of this opinion.  Tex. R. App. P.
18.1.

PER CURIAM

Panel consists of Chief Justice Radack and Justices Bland and Massengale.


